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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION

                                  :
 Rodney Shepherd,                 :
                                  : Civil Action No.: 2:16-cv-13558-RHC-
                     Plaintiff,   : RSW
                                  :
       v.                         :
                                  :
 Ally Financial, Inc.,            :
                                  :
                     Defendant.   :
 ________________________________ :

        STIPULATED ORDER OF DISMISSAL WITH PREJUDICE

      The Court, having been advised that Plaintiff, Rodney Shepherd, and

Defendant, Ally Financial, Inc., through their respective counsel, stipulate to

the above-caption action being dismissed, on the merits, with prejudice and

without costs or fees to either party, and the Court being fully advised in the

premises;

      IT IS HEREBY ORDERED AGREED that the above-captioned action be

dismissed, on the merits, with prejudice and without costs or fees to either party. The

Court will retain jurisdiction to enforce the terms of the settlement agreement.



                                         S/Robert H. Cleland
                                        ROBERT H. CLELAND
                                        UNITED STATES DISTRICT JUDGE


Dated: March 31, 2017
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I hereby certify that a copy of the foregoing document was mailed to counsel of record
and/or pro se parties on this date, March 31, 2017, by electronic and/or ordinary mail.


                                          S/Lisa Wagner
                                         Case Manager and Deputy Clerk
                                         (810) 292-6522




The undersigned stipulate to entry of the foregoing Order:



Dated: March 30, 2017                           Dated: March 30, 2017

s/ Sergei Lemberg_____                          s/ _ Ariana D. Pellegrino _____
Sergei Lemberg, Esq.                            Ariana D. Pellegrino, Esq.
LEMBERG LAW, LLC                                DICKINSON WRIGHT, PLLC
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Attorney for Plaintiff                          Attorney for Defendant
